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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 ANAIS ORTIZ, as Independent Administrator )
 of the Estate of ANTONIO FIERRO, Deceased, )
                                            )
                      Plaintiff,            )
                                            )
                V.                          )           Case No.
                                            )
UNITED STATES OF AMERICA,                   )
and VHS WEST SUBURBAN MEDICAL               )
CENTER, INC.,                               )
                                            )
                     Defendant.             )

                                 COMPLAINT AT LAW

      NOW COMES the Plaintiff, ANAIS ORTIZ, as Independent Administrator of the Estate of

ANTONIO FIERRO, Deceased, by and through her attorneys, KRALOVEC, JAMBOIS &

SCHWARTZ, and complaining of the Defendants, UNITED STATES OF AMERICA (hereinafter

“USA”) and VHS WEST SUBURBAN MEDICAL CENTER, INC. (hereinafter “WEST

SUBURBAN”, states as follows:

                                I. Preliminary Statement

      1.     Plaintiff, ANAIS ORTIZ, files this action against the USA for the medical

negligence/general negligence of its agents and/or employees at PCC COMMUNITY WELLNESS

CENTER, and against WEST SUBURBAN for the medical negligence/general negligence of its

agents and/or employees, which proximately caused the death of ANTONIO FIERRO, a minor.

      2.     On or about February 11, 2013, Plaintiff, ANAIS ORTIZ, presented a medical

negligence/general negligence claim on behalf of her minor deceased son, ANTONIO FIERRO, to



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the U.S. Department of Health and Human Services pursuant to the provisions of the Federal Tort

Claims Act, Title 28 §1346(b), 2671-2680, alleging liability of the United States Government. See

Attached Exhibit A.

          3.      On May 22, 2013, the United States Government rejected the claim of Anais Ortiz in

a letter which is attached hereto as Exhibit B.

          4.      That ANAIS ORTIZ has been appointed as Independent Administrator of the Estate

of ANTONIO FIERRO, deceased, by the Circuit Court of Cook County, Illinois, evidencing her right

and standing to sue. A copy of the Order is attached hereto as Exhibit C.

          5.      The cause of action of this Complaint against USA is the same cause of action

contained in the claim to the U.S. Department of Health and Human Services.

                                       II. Jurisdiction & Venue

          6.      This Court has jurisdiction of the action pursuant to 28 U.S.C. Section 1346 and 2671,

et seq.

          7.      Venue is proper under 28 U.S.C. Section 1402(b).

                                            III. The Parties

          8.      Plaintiff, ANAIS ORTIZ, is bringing this action in her capacity as Independent

Administrator of the Estate of ANTONIO FIERRO, deceased.

          9.      ANAIS ORTIZ, at all relevant times, was a resident of the State of Illinois.

          10.     ANTONIO FIERRO, deceased, at all relevant times, was a resident of the State of

Illinois.

          11.     USA, through the U.S. Department of Health and Human Services, maintains the PCC

COMMUNITY WELLNESS CENTER (hereinafter “PCC”), located in Illinois.


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        12.     WEST SUBURBAN is an Illinois healthcare facility licensed to do business in the

State of Illinois.

                                       IV. Factual Allegations

        13.     At all relevant times hereto, the Defendant, USA, by and through its agents, servants

and/or employees, was a health care facility located in the State of Illinois, employing various health

care professionals and offering medical services, including but not limited to diagnosis, treatment,

and consults to the public and to ANAIS ORTIZ and her unborn child, ANTONIO FIERRO.

        14.     At all relevant times hereto, the Defendant, WEST SUBURBAN, by and through its

agents, servants and/or employees, was a health care facility located in the State of Illinois, employing

various health care professionals and offering medical services, including but not limited to diagnosis,

treatment, and consults to the public and to ANAIS ORTIZ and her unborn child, ANTONIO

FIERRO.

        15.     That on and subsequent to December 6, 2011, and at all times relevant hereto, USA,

by and through its actual and apparent agents, servants and/or employees, including, but not limited

to, CHRISTINE SWARTZ, M.D. and PAUL LUNING, M.D., accepted and undertook to provide

medical and obstetric care and treatment to ANAIS ORTIZ and her unborn child, ANTONIO

FIERRO.

        16.     That on and subsequent to December 6, 2011, and at all times relevant hereto, WEST

SUBURBAN, by and through its actual and apparent agents, servants and/or employees, including,

but not limited to, CHRISTINE SWARTZ, M.D. and PAUL LUNING, M.D. and various other

physicians and nurses, accepted and undertook to provide medical, obstetric and nursing care and



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treatment to ANAIS ORTIZ and her unborn child, ANTONIO FIERRO.

       17.    That on and subsequent to December 6, 2011, and at all times relevant hereto,

CHRISTINE SWARTZ, M.D., was a physician licensed to practice medicine in the State of Illinois.

       18.    That on and subsequent to December 6, 2011, and at all times relevant hereto,

CHRISTINE SWARTZ, M.D. was an agent, servant and/or employee, whether actual or apparent,

of USA and WEST SUBURBAN.

       19.    That on and subsequent to December 6, 2011, and at all times relevant hereto, PAUL

LUNING, M.D., was a physician licensed to practice medicine in the State of Illinois.

       20.    That on and subsequent to December 6, 2011, and at all times relevant hereto, PAUL

LUNING, M.D. was an agent, servant and/or employee, whether actual or apparent, of USA and

WEST SUBURBAN.

       21.    That at approximately 10:00 p.m. on December 6, 2011, ANAIS ORTIZ, presented

to WEST SUBURBAN with ruptured membranes.

       22.    That at approximately 12:26 a.m. on December 7, 2011, ANAIS ORTIZ was admitted

to the Labor and Delivery department at WEST SUBURBAN under the care of CHRISTINE

SWARTZ, M.D.

       23.    That at approximately 6:00 a.m. on December 7, 2011, ANAIS ORTIZ was started on

Pitocin per PAUL LUNING, M.D.’s order.

       24.    That at approximately 10:00 a.m., an epidural was inserted into ANAIS ORTIZ per

PAUL LUNING, M.D.’s order.

       25.    That at approximately 11:30 p.m. on December 7, 2011, CHRISTINE SWARTZ, M.D.

performed a cesarean section on ANAIS ORTIZ.


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       26.     That during the procedure it was determined that ANAIS ORTIZ had sustained a

uterine rupture and significant blood loss.

       27.     On December 7, 2011, ANAIS ORTIZ gave birth to ANTONIO FIERRO who did not

appear to have a pulse.

       28.     That on or about December 8, 2011, ANTONIO FIERRO was transferred to Children’s

Memorial Hospital.

       29.     That on or about December 16, 2011, ANTONIO FIERRO died.

                                        COUNT I
                               UNITED STATES OF AMERICA

       30.     Each of the Paragraphs of this Complaint is incorporated as if restated fully herein.

       31.     At all times relevant hereto, there existed a duty on the part of the Defendants, USA,

by and through its actual and apparent agents, servants and/or employees, including, but not limited

to, CHRISTINE SWARTZ, M.D., and PAUL LUNING, M.D., to provide adequate medical care,

surgical care, diagnosis and treatment to its patients, including ANAIS ORTIZ and ANTONIO

FIERRO.

       32.     Contrary to its duty, the Defendant, USA, by and through its actual and apparent

agents, servants and/or employees, including, but not limited to, CHRISTINE SWARTZ, M.D., and

PAUL LUNING, M.D., were guilty of one or more of the following careless and negligent acts or

omissions:

               a.      Failed to timely perform a cesarian section;

               b.      Failed to sufficiently and timely evaluate ANAIS ORTIZ;

               c.      Failed to adequately monitor fetal heart rate activity;



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               d.      Failed to appreciate the alarming features on the fetal heart rate monitor; and

               e.      Failed to appreciate ANAIS ORTIZ’s VBAC status.

       33.     As a direct and proximate cause of one or more of the above-mentioned careless acts

and/or omissions of the Defendant, USA, by and through its actual and apparent agents, servants

and/or employees, including, but not limited to, CHRISTINE SWARTZ, M.D., and PAUL LUNING,

M.D., Decedent, ANTONIO FIERRO, sustained significant and irreversible injuries which ultimately

resulted in his death on December 16, 2011.

       34.     Plaintiff attaches hereto, as Exhibit D, copies of the reports from a physician regarding

the meritorious nature of the claim against USA for negligence.

                                          COUNT II
                                       WEST SUBURBAN

       1-29. Plaintiff hereby realleges and repeats Paragraphs 1 through 29 of this Complaint as

Paragraphs 1 through 29 of Count II as though fully stated herein.

       30.     At all times relevant hereto, there existed a duty on the part of the Defendant, WEST

SUBURBAN, by and through its actual and apparent agents, servants and/or employees, including,

but not limited to, CHRISTINE SWARTZ, M.D., and PAUL LUNING, M.D. and various other

physicians and nurses, to provide adequate medical care, surgical care, diagnosis and treatment to its

patients, including ANAIS ORTIZ and ANTONIO FIERRO.

       31.     Contrary to its duty, the Defendant, WEST SUBURBAN, by and through its actual and

apparent agents, servants and/or employees, including, but not limited to, CHRISTINE SWARTZ,

M.D., and PAUL LUNING, M.D. and various other physicians and nurses, were guilty of one or more

of the following careless and negligent acts or omissions:



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              a.      Failed to timely perform a cesarian section;

              b.      Failed to sufficiently and timely evaluate ANAIS ORTIZ;

              c.      Failed to recognize the significance of ANAIS ORTIZ’s signs and symptoms
                      of cramping, painful contractions and ruptured membranes;

              d.      Failed to adequately monitor fetal heart rate activity;

              e.      Failed to appreciate the alarming features on the fetal heart rate monitor;

              f.      Failed to appreciate ANAIS ORTIZ’s VBAC status;

              g.      Failed to properly train staff employed by the institution;

              h.      Failed to properly and adequately supervise staff employed by the institution;

              i.      Failed, as an institution, to provide adequate resources and personnel in order
                      to facilitate an emergency cesarean section in a timely manner; and

              j.      Failed to properly and adequately communicate the findings of the fetal heart
                      rate monitor.

       32.    As a direct and proximate cause of one or more of the above-mentioned careless acts

and/or omissions of the Defendants, USA and WEST SUBURBAN, by and through its actual and

apparent agents, servants and/or employees, including, but not limited to, CHRISTINE SWARTZ,

M.D., and PAUL LUNING, M.D. and various other physicians and nurses, Decedent, ANTONIO

FIERRO, sustained significant and irreversible injuries which ultimately resulted in his death on

December 16, 2011.

       33.    Plaintiff attaches hereto, as Exhibit E, copies of the reports from a physician regarding

the meritorious nature of the claim against WEST SUBURBAN for negligence.

       WHEREFORE, the Plaintiff, ANAIS ORTIZ, as Independent Administrator of the Estate of

ANTONIO FIERRO, Deceased, prays for judgment against the Defendant, WEST SUBURBAN, in



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such an amount in excess of this Court’s jurisdictional requisite that will fairly and adequately

compensate for the losses alleged herein.



                                            BY: s/ Alexander M. Sukhman
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